IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT ()F TENNESSEE
NASHVILLE DIVISION

 

M()ORELAND ESTATES H()MEOWNERS' )
ASSOCIATI()N, )
)
PLAINTIFF, ) CIVIL ACTION NO.
)
VS. ) JURY DEMANI)
)
)
NATIONWIDE MUTUAL INSURANCE )
COMPANY, A/K/A NATI()NWIDE )
INSURANCE, )
)
DEFENDANT. )
N()TICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1332, l44l and l446, Defendant Nationwide Mutual Insurance
Company ("Nationwide") hereby removes the above-styled action from the Chancery Court of
Williamson County, Tennessee to the United States District Court for the Middle Distriet of
Tennessee. In Support of removal, Nationwide States the following

I. STATE COURT ACTI()N

lt ()n or about August 16, ZOlZ, a eivil action Was commenced and is pending in the
Chancery Court for Williamson County, Tennessee, Styled Moore[az/zd ESz‘az‘eS HOmeOi/mers"
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2. Nafionwide has not filed a responsive pleading to ihe Complaint in Chaneery

Court. Nationwide Will file 3 responsive pleading With itS Notice of Removal in Federal Court.

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3. Pursuant to 28 U.S.C. § l446(a), a copy of all process, pleadings and orders filed
in the Williamson County Chancery Court, as of the date of the filing of this Notice of Removal,
are attached hereto as Ex. A.

II. GR()UNDS FOR REMOVAL

4. Nationwide Was served on or about August 22, 2012. (See Return of Service, Ex.
A.) Rernoval of this action is timely under 28 U.S.C. § l446(b) because this Notice of Rernoval
is filed Within 30 days of service.

5. Venue is proper in the Middle District of Tennessee because any civil action for
Which a district court has original jurisdiction may be removed by the defendant to the district
court for the district and division embracing the place Where such action is pending 28 U.S.C. §
1441(3).

6. As set out below, this Court has original jurisdiction over this matter pursuant to
28 U.S.C. § l332(a)(l) Which provides that “[t]he district courts shall have original jurisdiction
of all civil actions Where the matter in controversy exceeds the sum or value of 875,0()0,
exclusive of interest and costs, and is between citizens of different states.” 28 U.S.C. §
l332(a)(l).

A. Diversity of Citizenship.

7. Complete diversity of citizenship exists in this matter Plaintiff alleges that it is a
Tennessee Non-Protit Corporation authorized to conduct business in the State of Tennessee.
(:Compl. " it) Natioriwide is an @hio corporation with its principal place of business in Ohio.

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B. Amount in controversy

8. The amount in controversy in this matter exceeds 875,000 as required by 28
U.S.C. § l332. Plaintiffs Complaint seeks ”a judgment in such an amount as the jury finds will
reasonably compensate Plaintiffs [sic] for their damages legally caused by Nationwide and for
pre-judgment interest, trial expenses, and the costs of this cause." (Complaint, pg. 6.) Plaintiff
has recently informed Nationwide that it believes Nationwide owes Plaintiff an amount in excess
of 875,000. (See Parl<er Declaration § 2, attached as Ex. B.) Nationwide has already paid in
excess of $4()0,000 on this claim. As shown above, the amount in controversy requirement for
42 U.S.C. § l332(a)(l) is met.

VI. N()TICE

l(), Nationwide has served Plaintiff‘s counsel of record With Written notice of this
removal in accordance With 28 U.S.C. § l446(d).

ll. Nationvvide is filing a Notice of Filing Notice of Removal With the Chancery
Court for Williamson County, Tennessee on September 2(), 2()l2, in accordance With 28 U.S.C. §
l446(d). A copy of the Notice of Filing Notice of Removal is attached hereto as Ex. C.

WHEREFORE, Defendant Nationwide respectfully requests that this Court assume

jurisdiction over the cause herein as provided by lavv.

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CERTIFICATE OF SERVICE

lt is hereby certified that on the Qf§§ Day of Septernber, 2012, a copy of the
foregoing Notice of Removal was served by U.S. Mail and via facsimile on the following
counsel for parties with sufficient postage thereon to carry the same to its destination:

T. Chad White
Tune, Entrekin, & White, P.C.
Regions Center, Suite 1700

315 Deaderick Street §
Nashville, Tennessee 37238 jj

Ph? (6l 5) 244-2770 § z §

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Mark Baugh §

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